          Case 1:17-cv-00423-ACK-RLP Document 9 Filed 08/24/17 Page 1 of 3                                            PageID.39

$2 5HY 6XPPRQVLQD&LYLO$FWLRQ 3DJH

 &LYLO$FWLRQ1R

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           7KLVVXPPRQVIRU(name of individual and title, if any)      Ford Fuchigami, Director, State of HI, Dept of Transportation
 ZDVUHFHLYHGE\PHRQ(date)             8/23/17                       

           u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW (place)
                                                                                    RQ(date)                          RU

           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK(name)
                                                                DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
           RQ(date)                                DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

           ✔ ,VHUYHGWKHVXPPRQVRQ(name of individual)
           u                                                           Leslie Ah Sam                                            ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI(name of organization)          State of Hawai`i, Department
           of Transportation                                                        RQ(date)    8/23/17               RU

           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                               RU

           u 2WKHU(specify):
                                                                                                                                            


           0\IHHVDUH                            IRUWUDYHODQG                 IRUVHUYLFHVIRUDWRWDORI           0.00          


           ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


 'DWH      8/23/2017
                                                                                          Server’s signature


                                                                                   Julie Parks, Legal Assistant
                                                                                        Printed name and title

                                                                                         Earthjustice
                                                                                 850 Richards Street, Suite 400
                                                                                      Honolulu, HI 96813
                                                                                           Server’s address

 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF
          Case 1:17-cv-00423-ACK-RLP Document 9 Filed 08/24/17 Page 2 of 3                                             PageID.40

$2 5HY 6XPPRQVLQD&LYLO$FWLRQ 3DJH

 &LYLO$FWLRQ1R

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           7KLVVXPPRQVIRU(name of individual and title, if any)     Douglas S. Chin, Attorney General, State of Hawai`i
 ZDVUHFHLYHGE\PHRQ(date)            8/23/17                       

           u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW (place)
                                                                                     RQ(date)                          RU

           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK(name)
                                                                DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
           RQ(date)                                DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

           ✔ VHUYHGWKHVXPPRQVRQ(name of individual)
           ,
           u                                                           Skylar Cruz                                              ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI(name of organization) Attorney General, State of Hawai`i

                                                             RQ(date) 8/24/2017                       RU

           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                                RU

           u 2WKHU(specify):
                                                                                                                                             


           0\IHHVDUH                            IRUWUDYHODQG                  IRUVHUYLFHVIRUDWRWDORI           0.00          


           ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


 'DWH       8/24/2017
                                                                                            Server’s signature


                                                                                   Julie Parks, Litigation Assistant
                                                                                          Printed name and title

                                                                                           Earthjustice
                                                                                   850 Richards Street, Suite 400
                                                                                     Honolulu, Hawaii 96813
                                                                                            Server’s address

 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF
          Case 1:17-cv-00423-ACK-RLP Document 9 Filed 08/24/17 Page 3 of 3                                              PageID.41

$2 5HY 6XPPRQVLQD&LYLO$FWLRQ 3DJH

 &LYLO$FWLRQ1R

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           7KLVVXPPRQVIRU(name of individual and title, if any)       The Honorable David Y. Ige, Governor, State of Hawai`i
 ZDVUHFHLYHGE\PHRQ(date)             8/23/17                        

           u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW (place)
                                                                                    RQ(date)                            RU

           u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK(name)
                                                                DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
           RQ(date)                                DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

           ✔ ,VHUYHGWKHVXPPRQVRQ(name of individual)
           u                                                           Joyce S. Kami                                              ZKRLV
           GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI(name of organization)            Governor, State of
           Hawai`i RQ(date)         8/23/17                                                                             RU

           u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                                 RU

           u 2WKHU(specify):
                                                                                                                                              


           0\IHHVDUH                            IRUWUDYHODQG                   IRUVHUYLFHVIRUDWRWDORI           0.00          


           ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


 'DWH      8/23/2017
                                                                                            Server’s signature


                                                                                  Julie Parks, Litigation Assistant
                                                                                          Printed name and title

                                                                                          Earthjustice
                                                                                  850 Richards Street, Suite 400
                                                                                    Honolulu, Hawaii 96813
                                                                                             Server’s address

 $GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF
